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                          EXHIBIT L
              D.F. et al., v. Sikorsky Aircraft Corporation, et al.
                 U.S.D.C., Case No.: 13:cv-00331-GPC-KSC
              (Exhibits to Declaration of Christopher S. Hickey
                In Support of Motion for Summary Judgment)
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     1                   UNITED STATES DISTRICT COURT

    2                   SOUTHERN DISTRICT OF CALIFORNIA

    3

    4     D.F.,   a minor,      by and through his

    5     Guardian Ad Litem,           TASHINA AMADOR,

    6     individually and as Successor in

    7     interest to Alexis Fontalvo,

    8     deceased,     and T.L.,       a minor,     by

    9     and through her Guardian Ad Litem,

   10     TASHINA AMADOR

   11                     Plaintiffs

   12     vs.                                                     Case No.   l3-cv-00331

   13     SIKORSKY AIRCRAFT

   14     CORPORATION,        et al.

   15                     Defendants

   16    ______________________________________/




   17

   18                     The Videotaped Deposition of OLIVIU MUJA

   19    was held on Thursday,            February 16,            2017,   commencing at

   20     8:04 a.m.,     at Naval Air Station Patuxent River,                    47085

   21    Buse Road,      Building 462,         Patuxent River, Maryland,

   22    20670,    before Robert A.          Shocket, Notary Public.

   23

   24    REPORTED BY:         Robert A.    Shocket

   25    PAGES 1    -   242


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         I       A     Yes.                                                 1 critical wiring to be removed at first opportunity and
         2       Q     They among other things employ engineers?            2 replaced with a safer configuration wire such as 22759.
         3         A Chiefly, primarily. Quite a few other                  3     (Q You’re talking about the phase Kapton
         4    competencies as well.                                         4 replacement program9
         5         Q Right.                                                 5       A    Yes.
         6        A But lots of engineers, yeah.                            6       Q      What--
         7         Q How many of, how many electrical engineers             7         A There’s a -- reset is a bit bigger than
         8    are you aware of within the NAVAIR family?                    8    that. It encompasses training. It encompasses quite a
         9        A Uh, a fair question. I cannot even begin                9    few other aspects to ensure that its not just a
        10   to answer that but it’s probably, I would say a              10     long-term replacing of the wire but also educates the
       11    thousand.                                                    11    maintainers providing the skills and support equipment
       12         Q No, no. I’m asking about electrical                   12    necessary for them to be able to support it for the
       13    engineers.                                                   13    remainder of its lifetime.
       14         A Oh. I -- I could not answer that. I’m                 14         Q Was that understood -- was it your
       15    sorry.                                                       15    understanding that that was understood to be something
       16         Q Okay. That’s fine. No guessing.                       16    that needed to be corrected or approved within the Navy
       17         A Yeah, no guessing. Exactly.                           17    or the Marine Corps?
       18         Q All right.                                            18         A Yes. This is one area that well, I don’t
       19         A HR folks would.                                       19    want to generalize but due to the nature of the way we
       20         Q I’m sorry?                                            20    have been at war for the last 15 years, aircraft
       21         A The HR community would be able to answer              21    maintenance specifically as it deals with wiring may
       22    that.                                                        22    not have had the attention that it should have. And
       23            MR. HUNT: Yeah. Well, I’m sure they                  23    again that’s my opinion but generally speaking the
       24    would, but, let’s see. Tell me, Tom, any time you want       24    result of enormous strength put on aircraft and mission
       25    to take a break but I --I’ll just--                          25    readiness are not a good thing, so to speak. So a
                                                                Page 58                                                              Page 60
                   MR. STAHL: We’re doing fine as long as the               I   reset was very much founded and appropriate.
         2 witness is doing fine.                                          2            MR. HUNT: Just off the record -- I’m
         3         MR. HUNT: If you’re feeling fine, sir--                 3    sorry, not going off record. Excuse me. Has this been
         4         THE WITNESS: Check.                                     4    marked as an exhibit? I can’t remember.
         5         MR. HUNT: -- we’re all fine also. You’re                5            MR. HICKEY: The SSIRR?
         6 doing all the work.                                             6            MR. HUNT: Yeah.
         7         BY MR. HUNT:                                            7            MR. HICKEY: That was in the Hamilton
         8      Q Are you familiar with the, what’s been                   8    deposition.
         9 called the final report of the CH-53E Super Stallion            9            MR. HUNT: Okay. Since I have it here I’m
        10 Independent Readiness Review?                                  10    going to go --
       11       A I have reviewed it, yes.                                11            MR. STAHL: We’re --
       12      (Q Did were you part of the effort that                    12            MR. HUNT: I’m sorry.
       13 produced that report that final report?                         13            MR. STAHL: We’re beyond the scope of what
       14       A (~i~y in an advisory capacity. The Class                14    he’s designated for --
       15 Desk and System Engineer asked for a review but really          15            THE WITNESS: Correct.
       16 I have no true influence in terms of its content.               16            MR. STAHL: When you get into the H-53E and
       17     (Q Did, is it your understanding that the,                  17    the SSIRR.
       18 that as a result of the SSIRR I’ll call it, that                18            MR. HUNT: Okay.
       19 report that there is to be a so-calle reset of the              19            MR. STAHL: So we’re not going to let him
       20 CH-53E helicopters?                                             20    have any more discussion about that particular report.
       21      A Correct.                                                 21            MR. HUNT: Okay.
       22     ~ Does that reset contemplate doing anything                22            THE WITNESS: Yeah. I did not support the
       23 with the wiring of those aircraft?                              23    platform directly in that capacity, so.
       24      A The goal and intent was to do Just that, to              24            MR. HUNT: All right. That’s fine. Just,
       25 have it take a phased approach based on the most                25    one very - I want to touch on it if I may. I’ll risk,
                                                                Page 59                                                             Page 61

                                                                                                                    16 (Pages 58      -   61)
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          I    I’ll risk this anyway.                                            I    training to quality assurance to ensure that the
         2               BY MR. HUNT:                                            2    maintenance and installations are done correctly.
         3           Q Your understanding is that the reset                      3        Q If you look at Page 8, Arabic Page 8.
         4     program for the Super Stallion, the CH-53E will among             4        A It only goes to 7.
         5     other things result in the total replacement of all the           5        Q It only goes to 7?
         6     wiring in those aircraft?                                         6        A Oh. Roman 7, sorry. The Arabic. I stand
         7          A Yes.                                                       7    corrected. Eight. Yes, go ahead.
         8          Q I won’t ask any more about this then.                      8        Q You see about midway down under 4.1 B?
         9          A Yeah.                                                      9        A Yes.
        10          Q Let’s see. Are you familiar with the, with               10         Q And would you read that please into the
       11     MIL Handbook 522?                                                11    record?
       12           A Yes.                                                     12         A Under guideline two for incoming wire
       13           Q What is the purpose of that?                             13    inspection from the supply system, 4.1 -- D as in Delta
       14           A It provides EWIS inspection criteria in a                14    you said or B as in Bravo?
       15     configuration where I believe there are 32 guidelines.           15         Q B.
       16     Depending on which version you’re looking at, the                16         A “B, visually inspect wire for physical
       17     original. Then there’s Rev A and I think there are the           17    damage such as nicks, cuts, burns, abrasion, etcetera.
       18     32 guidelines in Rev A. And were working on Rev B.               18    See Figure 2-1.” Uh-huh. The following page
       19     So in essence it provides a very specific,                       19    identifies examples of corrosion.
       20     acceptable-unacceptable configuration of various EWIS            20         Q All right. So this is for aircraft -- I’m
       21     components like looking for like in this case                    21    sorry-- this is for wire being received into the
       22     polyimide, what is acceptable and what is unacceptable           22    system?
       23     wire degradation, also splices, terminal lugs, you name          23         A Yes. We, it was reported to the Joint
       24     it, various aspects.                                             24    Services Wiring Action Group. There was a very good
       25         Q    This has already been marked as an exhibit.             25    initiative that was put together I believe by NADEP,
                                                                  Page 62                                                                Page 64
         I     It’s Stone Exhibit 15.                                            I    Cherry Point. It’s our depot. They on occasion had
         2          A Yeah, this is the original version, yes.                   2    reports of wire supposed to have arrived to them for
         3          Q And it was dated October 26, 2010?                         3    installation and that exhibited corrosion.
         4          A That’s right.                                             4              So as a means to more or less stop the use
         5          Q And it’s MIL-HDPK-522?                                     5    of bad wire or corroded damage or deteriorated wire,
         6          A Yes. I helped write this.                                  6   they instituted a program for incoming wire inspection.
         7          Q I’m sorry?                                                 7   And essentially they looked at every single spool
         8          A I helped write this.                                       8   coming in. We debated and discussed this as at the
         9          Q I see -- I think I see you on the third                   9    JSWAG. We agreed that it needs to be in there. So in
        10    page of the document?                                            10    the, in the 505, second page, Work Package 4, it
       11           A Yes.                                                     II    actually has incoming wire inspection. And it’s doing
       12           Q And unfortunately, the copy I have here has              12    exactly that to look for these type of issues.
       13     not been Bates stamped at the bottom. I apologize for            13         Q Does it also provide for inspection of
       14     that. But, but you are, when it refers to NAVAIR                 14    wire--
       15     wiring system, systems branch, AIR-4.4.5.3, that’s you?          15         A Okay. Yeah. Go ahead. Sorry.
       16           A That is our competency code basically. So                16         Q Of wire that’s actually installed on an
       17     that designates electrical wire interconnect systems.            17    aircraft?
       18     That’s, if any questions arise in that regard it comes           18         A Yes.
       19     to us.                                                           19         Q Are the requirements similar?
       20           Q Was that you back in 2010?                               20         A Now, the incoming is only new coming in
       21           A Yes. I was the original architect and did                21    from supply.
       22     the initial writing on it and coordination and                   22         Q Isee.
       23     validation and review and whatever is required to put            23         A But this is only guideline 2. There are
       24     out a handbook. It was necessitated by the fleet. We             24    other guidelines that look at wire, the nature and if
       25     felt that it was necessary to get more specificity and           25    there is any damage to wire, for example.
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                         EXHIBIT M
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                         EXHIBIT N
              D.F. et al., v. Sikorsky Aircraft Corporation, et al.
                 U.S.D.C., Case No.: 13:cv-00331-GPC-KSC
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